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                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

United States of America              §
                                      §
vs.                                   §         NO: AU:23-CR-00135(1)-RP
                                      §
(1) Saint Jovite Youngblood           §

                 LIST OF WITNESSES AT JURY TRIAL

BY      GOVERNMENT                        BY      DEFENDANT
1.      Lindsey Wilkinson                 1.      Brian Oberon
2.      Scott Levins                      2.      Rachel Herrera Perardi
3.      Darrell Lee                       3.      Saint Yovite Youngblood
4.      Joseph Fiedler                    4.
5.      Jeff Bridgman                     5.
6.      Eric Perardi                      6.
7.      Dennis Schuler, Sr.               7.
8.      Roeana York                       8.
9.      Jason York                        9.
10.     Hanfu Lee                         10.
11.     Matthew Vasquez                   11.
12.     Luke McEwin                       12.
13.     Lane Holloway                     13.
14.     Gary Snider                       14.
15.     Jason Rzepniewski                 15.
16.     James Holloway
17.     Katie Sloma
18.     Justin Noble
